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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA



UNITED STATES OF AMERICA,
ex rel. RAVI SRIVASTAVA, et al.,

                         Plaintiffs,                  Civil Action No. 16-2956

               v

TRIDENT USA HEALTH SERVICES,
LLC, SYMPHONY DIAGNOSTIC
SERVICES NO. 1,INC. dlbla
MOBILEXUSA,

                         Defendants.




              UNITED STATES' NOTICE OF ELECTION TO INTERVENE

               Pursuant to the False Claims Act, 31 U.S.C. $ 3730(bX2) and (4), the United

States hereby notifies the Court of its election to intervene for settlement purposes against the

defendants, Trident USA Health Services, LLC and Symphony Diagnostics Services, No. 1, Inc.

dba MobilexUSA ("Trident"), as to allegations that Trident violated the False Claims Act,     3l

U.S.C. 5 3729, et seq.

       2.      The United States, Trident, and Relator Ravi Srivastava have executed a

Settlement Agreement that became effective on September 20,2019. The Settlement Agreement

is attached hereto as Exhibit A.

       3.      The Settlement Agreement provides for a release of certain defined covered

conduct, a payment of $8,500,000.00 by Trident to the United States, and the dismissal of this

action with prejudice pursuant to the terms and conditions of the Settlement Agreement.




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       4.      The Settlement Agreement provides that upon the Settlement Agreement

becoming effective Relator Srivastava shall execute and file a Notice of Voluntary Dismissal

pursuant to Federal Rule of Civil Procedure 41(a)(l), and the United States shall consent to such

voluntary dismissal pursuant to 31 U.S.C. $ 3730(bxl).

       5.      Pursuant to the Court's order dated Jrtly 23,2019, except for the   (l)   Amended

Complaint, (2) the Court's Orders extending the deadlines of the seal and the United States'

decision to intervene, (3) the Court's orders for limited disclosures, (4) the Order of July 23,

2019, and (5) all docket filings after July 23,2019, all docket filings in this matter shall remain

under seal.

                                               Respectfully submitted,

                                               WILLIAM M. McSWAIN
                                               United States Attorney




                                               Assistant United States Attorney
                                               Chief, Civil Division


                                                 {nnv"-u)f
                                               JOEL M. SWEET
                                               VERONICA J. FINKELSTEIN
                                               Assistant United States Attorneys

Date: September 43,2019




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       ATTACHMENT A
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                                  SETTLEMENT AGREEMENT

       This Settlement Agreement ("Agreement") is entered into among the United States of

America, acting through the United States Department of Justice, and on behalf of the Office of

Inspector General ("OIG-HHS") of the Department of Health and Human Services ("HHS")

(collectively, "United States"); Symphony Diagnostic Services No. 1, LLC; American

Diagnostics Services, Inc.; Community Mobile Diagnostics, LLC; Community Mobile

Ultrasound, LLC; Diagnostic Labs Holdings, LLC; FC Pioneer Holding Company, LLC; JLMD

Manager, LLC; Kan-Di-Ki, LLC; Main Street Clinical Laboratory, Inc.; MDX-MDL Holdings,

LLC; MetroStat Clinical Laboratory-Austin, Inc.; MX Holdings, LLC; MX USA, LLC;New

Trident Holdcorp, Inc.; Rely Radiology Holdings, LLC; Schryver Medical Sales and Marketing,

LLC; Trident Clinical Services Holdings, Inc.; Trident Clinical Services Holdings, LLC; Trident

Holding Company, LLC; TridentUSA Foot Care Services LLC; TridentUSA Mobile Clinical

Services, LLC; TridentUSA Mobile Infusion Services, LLC; and U.S. Lab          & Radiology, Inc.

(collectively, "Trident"); Relator Ravi Srivastava ("Relator Srivastava"); and Relator Peter

Goldman ("Relator Goldman") (Relator Srivastava and Relator Goldman referred to hereafter

collectively as "Relators") (the United States, Relators, and Trident, refered to hereafter

collectively as the "Parties"), through their respective authorized representatives.

                                             RECITALS

       A.      Trident provides mobile diagnostic services, including mobile x-rays, to

individuals residing at a variety of facilities, including skilled nursing facilities (each. a "SNF").

The United States pays money directly to Trident to provide mobile diagnostic services to

Medicare and Medicaid participants residing in SNFs.
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       B.      On June 14,2016, Relator Srivastava filed a quitam action in the United States

District Coum for the Eastern District of Pennsylvania caption ed United States et al. ex rel. Ravi

Srivastava v. Triclent USA Health Services LLC, Symphony Diagnostic Services No. 1, Inc. dba

MobitexUSA, Civil Action No. l6-2956 (E.D. Pa.), pursuant to the qui tam provisions of the

False Claims Act,   3l U.S.C. $ 3730(b) (the "srivastava Action"). In his complaint,    Srivastava

alleged that Trident engaged in a swapping scheme by which Trident charged SNFs prices below

Trident's costs to provide mobile x-rays to Medicare Part A recipients in exchange for the SNFs

referring to Trident the SNF's Part B Medicare business. Relator Srivastava alleged that

Trident's conduct violated the False Claims Act, 31 U.S.C. $ 3729 et seq. through violations of

rhe Anti-Kickback Statute, 42 U.S.C. $ 1320a-7b(b). On or about May 7,2018, Relator

Srivastava filed an amended complaint, in which he named additional defendants.

        C.     On May 3,2019, Relator Srivastava filed unliquidated, non-priority general

unsecured proofs of claim against Trident in In re Trident Holding Company, LLC, Case        No.   19-


10384 (S.D.N.Y. Bankr.) (the "Bankruptcy Proceeding") identifred as Claims Nos. 201549,

20551.20553, and 20555) (the "srivastava Original Proofs of Claim"). On May 8,2019, Relator

Srivastava filed revised proofs of claim against the Debtors identified as Claim Nos. 641, 642,

643, and 644 (the "srivastava Revised Proofs of Claim." and, collectively with the Srivastava

Original Proofs of Claim, the "Srivastava Proofs of Claim").

        D.     On September 27,2018, Relator Goldman filed a qui tam action in the United

States District Court for the District of Maryland captioned United States ex rel. Peter Goldman

v. Symphony Diagnostic Services No.    l,   LLC, d/b/a MobilexUSA, CivilActionNo. l8-cv-02982

(D. Md.), pursuant to the qtti tam provisions of the False Claims Act,   3l   U.S.C. $ 3730(b) (the

"Goldman Action"). In his complaint, Relator Goldman alleged that Trident engaged in a




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swapping scheme substantially similar to the scheme alleged by Relator Srivastava. The

Goldman Action was transferred to the United States District Court of the Eastern District of

Pennsylvania and designated       CivilAction No. l9-cv-01603 (E.D. Pa.). On July 23,2019,

Relator Goldman filed an amended complaint adding additional defendants.

           E.     On May 3,2019, Relator Goldman filed nvo unliquidated, non-priority general

unsecured proofs of claim against MobilexUSA in the Bankruptcy Proceeding identified as

Claim Nos. 20476 and20478 (the "Goldman Proofs of Claim" and collectively with the

Srivastava Proofs of Claim. the "Proofs of Claim").

           F.     Relators each contend that, as a result of the alleged swapping schemes more    fully

described in the Srivastava Action and the Goldman Action, Trident submitted, or caused to be

submitted, false claims for payment to the Medicare Program, Title      XVIII of the Social   Security

Act,42 U.S.C. S$ 1395-1395kkk-l ("Medicare"), and the Medicaid Program,42 U.S.C. $$

I 396- I   396w-5 ("Medicaid").

           G.     The United States contends that it has certain civil claims against Trident arising

from Trident knowingly and intentionally submitting, or causing to be submitted, to federal

healthcare programs claims for the provision of mobile diagnostic services in violation of the

False Claims Act, 31 U.S.C. S 3729 et seq.,based on violations of the Anti-Kickback Statute, 42

U.S.C. $ 1320a-7b(b). The United States' civil claims are based on Relators' allegations, and the

United States' subsequent investigation of Relators' allegations. that from June 4,2006, through

September 16,2019, Trident provided mobile diagnostic services to SNFs at prices below

Trident's costs to provide the services, or below fair market value, for the purpose of inducing

SNFs to refer federal health program business to Trident. That conduct is referred to below as

the "Covered Conduct."




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       H.      This Agreement is neither a concession by the United States or the Relators that

their claims are not well founded, nor an admission of any wrongdoing or liability by Trident.

Trident denies all allegations made by Relators in the Srivastava Action and Goldman Action

and denies that it engaged in the Covered Conduct.

       I.      Relators each claim entitlement under    3l U.S.C. S 3730(d) to a share of the

United States' proceeds from this Agreement, and to their reasonable expenses, attorneys' fees

and costs.

       J.      To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of the above claims, and in consideration of the mutual promises and obligations of this

Agreement, the Parties agree and covenant as follows:

                                   TERMS AND CONDITIONS

        1.     Trident shall pay to the United States Treasury a total of Eight Million Five

Hundred Thousand Dollars ($8,500,000.00) (the "Settlement Amount"), which constitutes

restitution to the United States, no later than five (5) business days after the Effective Date (as

defined in Paragraph No. 28, below). Trident's payment shall be made by electronic funds

transfer pursuant to written instructions to be provided by the United States ,Attorney's Office for

the Eastem District of Pennsylvania to Trident on or before the Effective Date

       2.      Conditioned upon the United States receiving the Settlement Amount from

Trident and as soon as feasible after receipt, the United States shall pay Relator Srivastava a total

of Two Million   Eighteen Thousand Seven Hundred Fifty Dollars ($2,018,750.00), and Relator

Goldman a total of One Hundred Six Thousand Two Hundred Fifty Dollars ($106,250.00), by

electronic funds transfer pursuant to written instructions to be provided by Relators' respective

counsel to the United States Attorney's Office for the Eastern District of Pennsylvania.




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       3.      Trident shall pay Relators, through their respective counsel, for Relators'

expenses, attorneys' fees, and costs. a total of One   Million Dollars   ($ 1,000,000.00)   ("Attorney

Expense Amount"). for the representation of Relator Srivastava and Relator Goldman. Trident

shall pay Berger Montague a total of Nine Hundred Thousand Dollars ($900,000.00), and

Morgan & Morgan a total of One Hundred Thousand Dollars ($100,000.00). Trident's payment

of the Attorney Expense Amount shall be made no later than five (5) business days after the

Effective Date by electronic funds transfer pursuant to written instructions to be provided by the

law firms to Trident on or before the Effective Date.

       4.      Subject to the exceptions in Paragraph No. 6 (concerning excluded claims) below,

and conditioned upon Trident's fullpayment of the Settlement Amount and Attorney Expense

Amount, the United States releases Trident from any civil or administrative monetary claims

arising under the False Claims Act,   3l   U.S.C. $$ 3729-3733; the Civil Monetary Penalties Law,

42 U.S.C. g 1320a-7a; the Program Fraud Civil Remedies Act,        3l U.S.C. $$ 3801-3812; any

statutory provision creating a cause of action for civil damages or      civil penalties for which the

Civil Division of the Department of Justice has actual    and present authority to assert and

compromise pursuant to 28 C.F.R. Part 0, Subpart I, 0.45(d); and the common law theories           of

payment by mistake, unjust enrichment, and fraud, related to the Covered Conduct.

        5.     Conditioned on Trident's full payment of the Settlement Amount and the

Attorney Expense Amount, Relators, for themselves and their heirs, successors, attomeys,

agents, and assigns,   fully and finally release, waive, and forever discharge Trident (together with

its current or former owners, officers, directors, employees, agents, shareholders, and attorneys;

and the heirs, representatives, family members, successors and assigns of any of them), and all          of

the other defendants named in the Srivastava Action and the Goldman Action, from claims for




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relief, actions, rights, causes of action, suits, debts, obligations, liabilities, demands, losses,

damages, costs and expenses of any kind, whether known or unknown as of the Effective Date

that Relators have, may have, could have asserted, or may assert in the future on their behalf or

on behalf of the United States or any state or local government or sovereign or on behalf of any

other person or entity, including but not limited to any claim relating in any way to the Covered

Conduct, the allegations in their respective qui tam complaints, any claims for attorneys' fees,

costs, or expenses, including under 3 I U.S.C.    ss   3730(d) or any other law of any state or territory

that is similar, comparable, or equivalent to 31 U.S.C.      S   3730(d), the investigation and

prosecution of this matter, or the negotiation of the Agreement, including all liability, claims,

demands, actions or causes of action existing as of the Effective Date, fixed or contingent, in law

or in equity, in contract or in tort, or under any federal or state statute, regulation, or common

law. Relators   represent and warrant that they have not assigned or transferred any of their claims

to any person, entity, or thing.

        6.      Notwithstanding the releases given in Paragraph Nos. 4 and 5 of this Agreement,

or any other term of this Agreement, the following claims of the United States are specifically

reserved and are not released:

                a.      Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

                b.      Any criminal liability;

                c.      Except as explicitly stated in this Agreement, any administrative liability,

                        including mandatory or permissive exclusion from Federal health care

                        programs;

                d.      Any liability to the United States (or its agencies) for any conduct other

                        than the Covered Conduct;




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                 e.     Any liability based upon obligations created by this Agreement;

                 f.     Any liability of individuals;

                 g.     Any liability for express or implied warranty claims or other claims for

                        defective or deficient products or services, including quality of goods and

                        services;

                 h.     Any liability for failure to deliver goods or services due;

                 i.     Any liability for personal injury or property damage or for other

                        consequential damages arising from the Covered Conduct.

         7.      Relators and their heirs, successors, attorneys, agents, and assigns shall not object

to this Agreement, but rather agree and confirm that this Agreement is fair, adequate, and

reasonable under all the circumstances, pursuant to     3l   U.S.C. $ 3730(cX2)(B).

         8.      Conditioned upon Relators' receipt of the payment described in Paragraph No. 2

and the Attomey Expense Amount described in Paragraph No. 3, Relators and their respective

heirs, successors, attorneys, agents, and assigns, fully and finally release, waive, and forever

discharge the United States, its agencies, officers, agents, employees, and servants, from any

claims arising from the filing of the Srivastava Action or the Goldman Action or under 31 U.S.C.

S   3730, and from any other claims to a further share of the proceeds of this Agreement.

         9.      Conditioned on Trident's full payment of the Settlement Amount and the

Attorney Expense Amount, Trident waives and shall not assert any defenses Trident may have to

any criminal prosecution or administrative action relating to the Covered Conduct that may be

based in whole or in part on a contention that, under the Double Jeopardy Clause in the Fifth

Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth Amendment




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of the Constitution, this Agreement bars a remedy ,ouiht in such criminal prosecution or

administrative action.

           10.        Conditioned on Trident's fullpayment of the Settlement Amount and the

Attorney Expense Amount, Trident fully and finally releases the United States, its agencies,

officers, agents. employees. and servants. from any claims (including attomey's fees. costs. and

expenses of every kind and however denominated) that Trident has asserted, could have asserted,

or may assert in the future against the United States, its agencies, officers, agents, employees,

and servants, related to the Covered Conduct, the United States' investigation and prosecution

thereof.

           I   l.     Conditioned on Trident's full payment of the Settlement Amount and the

Attorney Expense Amount, Trident fully and finally releases Relators from any claims (including

attorney's fees, costs, and expenses of every kind and however denominated) that Trident has

assefted, could have asserted, or may assert in the future against the Relators, related to the

Covered Conduct, Relators' investigation and prosecution thereof, the Srivastava Action, and the

Goldman Action.

           12.        The Settlement Amount shall not be decreased as a result of the denial of claims

for payment now being withheld from payment by any Medicare aontractor (e.g., Medicare

Administrative Contractor, fiscal intermediary, carrier or any state payer). related to the Covered

Conduct. Trident agrees not to resubmit to any Medicare contractor or any state payer any

previously denied claims related to the Covered Conduct, agrees not to appeal any such denials

of claims, and agrees to withdraw any such pending appeals.




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       13.     Trident agrees to the following:

               a.     Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R.   S 31.205-47; and in   Titles XVIII and XIX of the Social

Security Act,42 U.S.C. $$ 1395-1395kkk-l and 1396-1396w-5; and the regulations and official

program directives promulgated thereunder) incurred by or on behalf of Trident, its present or

former officers, directors, employees, shareholders, and agents in connection with:

               (1)    the matters covered by this Agreement;

               (2)    the United States' audit(s) and civil investigation(s) of the matters covered

                      by this Agreement;

               (3)    Trident's investigation, defense, and corrective actions undertaken in

                      response to the United States' audit(s) and   civil investigation(s) in

                      connection with the matters covered by this Agreement (including

                      attorney's fees);

               (4)    the negotiation and performance of this Agreement; and

               (5)    the payment Trident makes to the United States pursuant to this

                      Agreement and any payments that Trident may make to Relators,

                      including costs and attorneys' fees

are unallowable costs for government contracting purposes and under the Medicare Program,

Medicaid Program, TRICARE Program, and Federal Employees Health Benefits Program

(FEHBP) (hereinafter referred to as Unallowable Costs).

               b,     Future Treatment of Unallowable Costs: Unallowable Costs shall be

separately determined and accounted for by Trident, and Trident shall not charge such

Unallowable Costs directly or indirectly to any contracts with the United States or any State




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Medicaid program, or seek payment for such Unallowable Costs through any cost report, cost

statement, information statement, or payment request submitted by Trident or any of its

subsidiaries or affiliates to the Medicare, Medicaid, TRICARE, or FEHBP Programs.

                c.        Treatment of Unallowable Costs Previously Submitted for Payment:

Trident further agrees that within 90 days of the Effective Date it shall identify to applicable

Medicare and TRICARE fiscal intermediaries, carriers, and/or contractors, and Medicaid and

FEHBP fiscal agents, any Unallowable Costs (as defined in this Paragraph) included in payments

previously sought from the United States, or any State Medicaid program, including, but not

limited to, payments sought in any cost reports, cost statements, information reports, or payment

requests already submitted by Trident or any of its subsidiaries or affiliates, and shall request,

and agree, that such cost reports, cost statements, information reports, or payment requests, even

if already settled,   be adjusted to account for the effect   of the inclusion of the Unallowable Costs.

Trident agrees that the United States, at a minimum, shall be entitled to recoup from Trident any

overpayment plus applicable interest and penalties as a result of the inclusion of such

Unallowable Costs on previously-submitted cost reports, information reports, cost statements, or

requests for payment.

        Any payments due after the adjustments have been made shall be paid to the United

States pursuant to the direction of the Department of Justice and/or the affected agencies. The

United States reserves its rights to disagree with any calculations submitted by Trident or any of

its subsidiaries or affiliates on the effect of inclusion of Unallowable Costs (as defined in this

Paragraph) on Trident or any of its subsidiaries or affiliates' cost reports, cost statements" or

information reports.




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               d.     Nothing in this Agreement shall constitute         a   waiver of the rights of the

United States to audit, examine, or re-examine Trident's books and records to determine that no

Unallowable Costs have been claimed in accordance with the provisions of this Paragraph.

        14.    This Agreement is intended for the benefit of the Parties only, except with respect

to the Relators' release of non-Parties in Paragraph No.      5.   The United States does not release

any claims against any person or entity other than Trident.

        15.    Trident agrees that it waives and shall not seek payment for any of the health care

billings covered by this Agreement from any health care beneficiaries or their parents, sponsors,

legally responsible individuals, or third party payors based upon the claims defined as Covered

Conduct.

        16.    The Parties warrant that, in evaluating whether to execute this Agreement, they

(a) have intended that the mutual promises, covenants, and obligations set forth constitute a

contemporaneous exchange for new value given to Trident, within the meaning               of I I U.S.C. $

547(cX1), and (b) conclude that these mutualpromises, covenants, and obligations do, in fact,

constitute such a contemporaneous exchange. Further, the Parties warrant that the mutual

promises, covenants, and obligations set forth herein are intended to and do, in fact, represent a

reasonably equivalent exchange of value that does not and is not intended to hinder, delay, or

defraud any entity to which Trident was or became indebted to on or after the date of this

transfer, within the meaning   of I I U.S.C.   $ 5a8(a)(l).

       17.     Once the Agreement is     fully executed and approved by the Bankruptcy Court

(including the 6004 waiver), Relator Srivastava shall immediately withdraw Relator Srivastava's

objection to Trident's Plan of Reorganization. Upon receipt of the Settlement Amount and the

Attorney Expense Amount described in Paragraph Nos. I and 3 above, Relators shall promptly




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sign and file in the Bankruptcy Proceeding papers to, as applicable: (a) dismiss with prejudice

the adversary complaints filed by Relators, and (b) withdraw the Proofs of Claim. Upon

Trident's payment in full of the Settlement Amount and Attorney Expense Amount described in

Paragraph Nos.   I   and 3 above, Trident shall authorize and direct its claims and noticing agent

Epiq Corporate Restructuring, LLC. to amend Trident's claims register to expunge the Proofs of

Claim. Upon the Effective Date, Relators will sign and file in the Srivastava Action and in the

Goldman Action, respectively, Notices of Voluntary Dismissal with Prejudice pursuant to

Federal Rule of Civil Procedure      4l(aXl),   and the United States shall consent to such voluntary

dismissals pursuant to   3l U.S.C. $ 3730(bXl).

        18.    Upon receipt of the Settlement Amount and the Afforney Expense Amount

described in Paragraph Nos.     I   and 3 above, Relator Srivastava   will dismiss with prejudice the

motion to withdraw the reference filed in the United States District Court for the Southern

District of New York.

        19.    Except for Trident's obligation to pay the Attomey Expense Amount set forth in

Paragraph No. 3, each Party shall bear its own legal and other costs incurred in connection with

this matter, including the prepaiation and performance of this Agreement.

       20.     Each party and signatory to this Agreement represents that it freely and

voluntarily enters into this Agreement without any degree of duress or compulsion.

       21.     This Agreement is governed by the laws of the United States. The exclusive

jurisdiction and venue for any dispute relating to this Agreement is with the United States

District Court for the Eastem District of Pennsylvania. For purposes of construing this

Agreement, this Agreement shall be deemed to have been drafted by all Parties to this




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Agreement and shall not, therefore, be construed against any Party for that reason in any

subsequent dispute.

       22.     This Agreement constitutes the complete agreement between the Parties. This

Agreement may not be amended except by written consent of the Parties.

        23.     The undersigned counsel represent and warrant that they are fully authorized to

execute this Agreement on behalf of the persons and entities indicated below.

        24.     This Agreement may be executed in counterparts, each of which constitutes an

original and all of which constitute one and the same Agreement.

        25.     Upon the Effective Date, this Agreement     will   be binding upon all of the Parties,

their successors, transferees, heirs, and assigns.

        26.    All   parties consent to the United States' disclosure of this Agreement, and

information about this Agreement, to the public.

        27.     Facsimiles and electronic transmissions of signatures shall constitute acceptable,

binding signatures for purposes of this Agreement.

        28.    The Effective Date of this Agreement is the day that the last of the following

events has occurred:   (l)   the Agreement has been executed by all Parties and their respective

counsel; (2) the Agreement has been approved by the Bankruptcy Court for the Southern District

of New York; (3) the effective date of Trident's Chapter I I Plan has occurred.




                                     ### signature pages follow ###




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                               THE UN.ITED S'I'ATES OF AMERICA


DATED: 4-   ttr   -   t   rt
                                 BY:
                                                       McSWAIN
                                        United States Attorney


DATED:   qlrIrt                  BY
                                        GREGORY B. DAVID
                                        Chief. Civil Division
                                                                Attomey


DATED:   trrtrtc                 tlY
                                                        . FULLMER
                                                          vil Division
                                                                 Attorney


DArED:   qrslrt                  IlYr

                                                 United          Attornel'


DATED: q/lb/n                    I}Y:    d*ry;*
                                        VERONICA J. FI}{KEI,STEN
                                        Assistant United States Attornev



DATED:                           BY
                                        I.ISA M. RE
                                        Assistant lnspector General for Legal Atfairs
                                        Oftjce of Counsel to the Inspector General
                                        Oft'ice of Inspector General. United States Department   of
                                        Health and Human Services
                                        ('ounsel.fbr the United States of'America




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                    THE UNITED STATES OF AMERICA


DATED:                 BY
                             WILLIAM M. MCSWAIN
                             United States Attorney


DATED:                 BY:
                             GREGORY B. DAVID
                             Chiel Civil Division
                             Assistant United States Attorney


DATED                  BY:
                             CHARLENE K. FULLMER
                             Deputy Chiei Civil Division
                             Assistant United States Attorney


DATED:                 BY
                             JOEL M. SWEET
                             Assistant United States Attorney



DATED:                 BY
                             VERONICA J. FINKELSTEIN
                             Assistant United States Attorney



DATED:   1M            BY:   d;*ptiz<
                             LISA M. RE
                             Assistant Inspector General for Legal Affairs
                             Office of Counsel to the Inspector General
                             Office of Inspector General, United States Department   of
                             Health and Human Services
                             Counsel for the United States of America




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                                  TRIDENT


DATED:                  BY

                             Chief             Officer, Trident


DATED:                  BY
                             WILLIAM H. JORDAN
                             JASON D. POPP
                             Alston & Bird LLP
                             Counsel.for Trident


DATED:                  BY
                                     J.
                                     M. WINERMAN
                             Skadden, Arps, Slate Meagher    & Flom LLP
                             Counsel.for T'ident




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                                   TRIDENT


DATED:                  BY:
                              ANDREI SORAN
                              Chief Executive       Trident


oerBo:Z|4.j[r   3-      BY        VI
                              WILLIAM
                                                   f
                              JASON D.
                              Alston &
                              Counsel   for

DATED:                  BY:
                              JAMES J.MAZZA,JF..
                              JUSTIN M. WINERMAN
                              Skadden, Arps, Slate Meagher & Flom LLP
                              Counselfor Trident




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                                RAVISRIVASTAVA
                                Relator


DATED:                   BY:
                                SHERRIE R. SAVETN, ESQ.
                                RUSSELL D. PAUL, ESQ
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DATED:                   BY:
                                M]CHAEL S. ETKIN, ESQ.
                                MCOLE FT'LFREE, ESQ.
                                Loweostcin Sandler
                                Counsel lor Relator Ravi Srivastava




DATED:                    BY
                                PETERGOLDMAN
                                Relator

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DATED:                    BY:
                                JAMES YOI,JNG,ESQ.
                                Morgan & Morgan Complex
                                Litigation Gmup LLC
         -                      Counsel for Relator Peter Goldman



DATED:                    BY
                                U. SETH OTTENSOSER, ESQ.
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                                 RELATORS


DATED:                BY
                             RAVI SRTVASTAVA
                             Relator



DATED:                 BY
                             SHERRIE R. SAVETT, ESQ.
                             RUSSELL D. PAUL, ESQ
                             Berger Montague
                             Couns el for Relator Ravi Sriv astava



DATED:                 BY:
                             MICHAEL S. ETKIN, ESQ.
                             MCOLE FULFREE, ESQ.
                             Lowenstein Sandler
                             Counsel for Relator Ravi Srivastwa




DATED:9-16-19          BY

                             Relator



DATED:                 BYI
                             JAMES YOUNG, ESQ.
                             Morgan & Morgan Complex
                             Litigation Group LLC
                             Couruel for Relator Peter Goldman



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                             Cowtselfor Relator Peter Goldman




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                          CEBTIFICATE OF SERVICE
      I hereby certifi, that a copy of the foregoing Election to Intervene and all

accompanying papers were served by ECF and first-class mail, postage prepaid, this

25tt' day of September, 2019 on:

                             Sherrie R. Savett, Esquire
                              Russell D. Paul, Esquire
                             Berger & Montague, P.C.
                                1622Locust Street
                              Philadelphia, PA 19103




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                                        VERONICA J. FINKELSTEIN
                                        Assistant United States Attorney
